Case 0:20-cv-61872-AHS Document 183 Entered on FLSD Docket 08/02/2022 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                             CASE NO. 20-61872-CIV-SINGHAL/HUNT

  ALAN DERSHOWITZ,

                Plaintiff,
  v.

  CABLE NEWS NETWORK, INC.,

             Defendant.
  _______________________________/
                                            ORDER
          THIS CAUSE is before this Court following an August 1, 2022 discovery hearing.

  The Honorable Anuraag H. Singhal, United States District Judge, referred discovery to

  the undersigned for disposition. ECF No. 34; see also 28 U.S.C. § 636(b); S.D. Fla. Mag.

  R. 1.    The undersigned, having carefully reviewed the argument of Counsel and

  applicable law, and being otherwise fully advised in the premises, ORDERS as follows:

          Plaintiff seeks to take five additional depositions from Defendant, in excess of the

  allowed number of depositions and in spite of the close of discovery on August 5, 2022.

  Defendant opposes that request in part, agreeing to only two of the five depositions. As

  to the specifics of those requests, Plaintiff first seeks to depose a corporate

  representative, per Fed. R. Civ. P. Rule 30(b)(6), seeking information on Defendant’s

  news standards and practices policy guide, business records, document retention and

  “roll off” policy, and net worth. Plaintiff at the hearing indicated that the business records

  and net worth issues were mooted by responses from Defendant.                Defendant also

  promised to look into providing Plaintiff with information about its news standards and roll

  off policies, possibly obviating the need for the 30(b)(6) deposition altogether.
Case 0:20-cv-61872-AHS Document 183 Entered on FLSD Docket 08/02/2022 Page 2 of 3




        As for the other four depositions, Plaintiff seeks to depose four individuals in the

  news division who produce and book the television programs at issue in this case.

  Defendant has agreed to provide only two of the requested individuals, Izzy Povich and

  Chuck Haddad, for deposition. The undersigned finds Defendant’s suggestion a fair and

  adequate compromise given the needs of the case. However, the Parties may substitute

  deponents should they agree to do so.

        The Court also at the hearing addressed two outstanding issues, Plaintiff’s

  deposition and a partially-redacted text message. Regarding the first issue, the Parties

  notified the Court that they had come to an amicable resolution of all issues regarding

  Plaintiff’s deposition. The undersigned notes that this resolution may necessitate an

  amendment of the Court’s scheduling order, which relief can only be granted by the

  District Court. The undersigned makes no ruling on the appropriateness of the Parties’

  resolution. As for the text messages, the Court reviewed the unredacted text message

  in camera and finds the redactions appropriate. To the extent that Plaintiff has sought to

  expand discovery based on the content of emails and text messages submitted for this

  Court’s review, that request is denied.

        Accordingly, it is hereby ORDERED AND ADJUDGED:

        Plaintiff shall be allowed to depose Izzy Povich and Chuck Haddad. The Parties

  shall confer as to the time and place of said depositions.

        Defendant’s text messages submitted for in camera review shall remain redacted,

  and Plaintiff’s request to expand discovery based on submitted materials is denied.




                                              2
Case 0:20-cv-61872-AHS Document 183 Entered on FLSD Docket 08/02/2022 Page 3 of 3




        The Parties shall work together on the remaining issues and report the results to

  the undersigned as outlined in the Order Modifying Discovery Proceedings, ECF No. 177.

        DONE and ORDERED at Fort Lauderdale, Florida, this 2nd day of August 2022.




                                         __________________________________
                                         PATRICK M. HUNT
                                         UNITED STATES MAGISTRATE JUDGE

  Copies furnished to:
  The Honorable Anuraag H. Singhal
  All counsel of record




                                            3
